The court incorporates by reference in this paragraph and adopts as the findings and orders
of this court the document set forth below. This document was signed electronically at the
time and date indicated, which may be materially different from its entry on the record.




         Dated: 10:09 AM July 28, 2022




                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

In re:                                                   )    Chapter 11
                                                         )
Squirrels Research Labs LLC et al.,1                     )    Case No. 21-61491
                                                         )    (Jointly Administered)
                          Debtors.                       )
                                                         )    Judge Russ Kendig


   ORDER GRANTING FIRST APPLICATION OF BROUSE MCDOWELL, LPA,
  COUNSEL FOR THE DEBTORS, FOR ALLOWANCE OF COMPENSATION FOR
PROFESSIONAL SERVICES RENDERED TO DEBTORS AND REIMBURSEMENT OF
 EXPENSES FOR THE PERIOD NOVEMBER 23, 2021 THROUGH MAY 31, 2022 ON
AN INTERIM BASIS WITH RESPECT TO SQUIRRELS RESEARCH LABS LLC AND
   A FINAL BASIS WITH RESPECT TO THE MIDWEST DATA COMPANY, LLC


          This matter came to be heard on the First Application of Brouse McDowell, LPA,

Counsel for the Debtors, For Allowance of Compensation For Professional Services Rendered to

Debtors and Reimbursement of Expenses For the Period November 23, 2021 through May 31,



1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.




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2022 on an Interim Basis with Respect to Squirrels Research Labs LLC and a Final Basis with

Respect to the Midwest Data Company LLC (the “Application”); the Court (a) having reviewed

the Application; (b) having read the statements of Brouse McDowell, LPA regarding the relief

requested in the Application; and (c) no objections to the Application having been filed; the

Court finds that (i) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334, (ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), (iii) notice of the

Application was just and proper, and (iv) the fees and expenses requested by the Applicant

pursuant to the Application were beneficial to the Debtors’ estates and are reasonable and

necessary expenses of the Debtors’ estates. The Court concludes that the Application is well

taken and HEREBY ORDERS THAT:

       1.      The Application is GRANTED as set forth herein.

       2.      Any terms not specifically defined herein shall have the same meaning as defined

in the Application.

       3.      Proper notice was given.

       4.      Pursuant to 11 U.S.C. §§ 330 and 331, the Court hereby approves and awards the

Applicant fees for the period November 23, 2021 through May 31, 2022 in the amount of

$148,343.50 on an interim basis with respect to Squirrels Research Labs LLC and a final basis

with respect to MWDC, authorizes Applicant to apply the $12,542.56 in its Trust account towards

the payment of the approved fees, and approves and authorizes the Debtors to pay the remaining

unpaid fees in the amount of $29,214.54;

       5.      The Court approves and awards reimbursement for actual and necessary expenses

advanced for the period November 23, 2021 through May 31, 2022 in the sum of $6,315.59 on an

interim basis with respect to Squirrels Research Labs LLC and a final basis with respect to MWDC.




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          6.   This Court shall retain jurisdiction with respect to all matters relating to the

interpretation or implementation of this Order.

          7.   This Order shall be effective immediately upon entry.

                                              ###



SUBMITTED BY:

/s/ Marc B. Merklin
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Julie K. Zurn (0066391)
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